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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  HAMMOND DIVISION

 MONSTER ENERGY COMPANY, a
 Delaware corporation,

                Plaintiff,
                                                      Civil Case No. 2:21-cv-179-PPS-JPK
        v.

 R&R MEDICAL, LLC d/b/a BEAR
 KOMPLEX, an Indiana limited liability
 company,

                Defendant.


                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff Monster Energy Company and Defendant R&R Medical, LLC d/b/a Bear

Komplex, by their respective counsel, hereby stipulate to the dismissal of the above-captioned

action with prejudice pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure. Each

party shall bear its own costs and attorneys’ fees.




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